       Case 2:18-cv-09178-SVW-JEM Document 38 Filed 05/23/19 Page 1 of 2 Page ID #:334
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                    9                            UNITED STATES DISTRICT COURT
                   10                        CENTRAL DISTRICT OF CALIFORNIA
                   11
                        JOHN DOE, an individual,                    Case No. CV18-09178-SVW(JEMx)
                   12
                                    Plaintiff,                      P       Dl ORDER RE: JOINT
                   13                                                TIPULATION FOR DISMISSAL OF
                             v.                                     ENTIRE ACTION WITH PREJUDICE
                   14

                   15  CALIFORNIA INSTITUTE OF
                       TECHNOLOGY,a nonprofit                       Complaint Filed: October 25, 2018
                   l h corporation, and DOES 1-20, inclusive,       Trial Date:      None
                                                                    District Judge: Hon. Stephen V. Wilson
                   l7               Defendants.                                      Courtroom 10A, First St.
                                                                    Magistrate Judge:Hon. John E. McDermott
                   is                                                                Courtroom 640, Roybal
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[Proposed] Order                                                                  Case No. CV 18-09178-SVW (JEMac)
                        [PROPOSED] ORDER RE: JOINT STIPULATION FOR DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
       Case 2:18-cv-09178-SVW-JEM Document 38 Filed 05/23/19 Page 2 of 2 Page ID #:335
                    1        Pursuant to the Joint Stipulation for Dismissal of Entire Action With Prejudice
                    2 and GOOD CAUSE appearing therefore, IT IS HEREBY ORDERED that the above-
                    3 referenced action be and hereby is dismissed in its entirety, with prejudice. Each
                    4 party shall bear her/his/its own costs and attorney fees.
                    5

                    6        IT IS SO ORDERED.
                                                                         _
                    7

                    8 DATED:                        ,2019
                    9                                         THE HON. STEPHEN V. WILSON
                   t0                                         JUDGE OF THE UNITED STATES
                                                              DISTRICT COURT
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[Proposed] Order                                                 1               Case No. CV18-09178-SVW (JEMx)
                        [PROPOSED]ORDER RE: JOINT STIPULATION FOR DISMISSAL OF ENTIRE ACTION WITH PREJUDICE
